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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE:

CURRENT MASTER nJRY WHEEL (12/18)
NEW MASTER JURY WHEEL (01/21)                          Case No. 2:20-mc-00028
                                                                 -----
JS-12 REPORTS
CURRENT QUALIFIED JURY WHEEL (06/19)
NEW QUALIFIED nJRY WHEEL (06/21)


                                           ORDER

        WHEREAS the current Master Jury Wheel of this District was established from the
voter registration rolls from the November 2018 General Election; and,

        WHEREAS 28 U.S.C. §1863(b)(4) requires that such Master Jury Wheel be periodically
emptied and refilled, the interval for which shall not exceed two years as provided by the Plan of
the United States District Court for the Western District of Pennsylvania for the Random
Selection of Grand and Petit Jurors effective March 20, 2020 (the "Jury Plan").

        THEREFORE, IT IS HEREBY ORDERED that the Clerk of this Court is directed to
establish a new Master Jury Wheel from the November 2020 Voter Registration Rolls, and take
the following actions forthwith:

        1. Pursuant to the Jury Plan, and by a purely random selection of all names through the
use of a properly programmed data computer using methodology approved by the National
Institute of Standards and Technology (NIST), establish new Master Jury Wheels for the
Pittsburgh, Erie and Johnstown Divisions of this Court.

        2. As required by 28 U.S.C. §1863(a), conduct a sampling of the Master Jury Wheel
distribution and prepare a report for the comparison of jury data against the United States Census
information for each division. This data will be compiled and maintained by the Clerk of the
District Court.

       3. Solicit responses to a Juror Qualification Questionnaire from prospective jurors to
obtain information necessary to determine qualification for jury service. Enter qualified
prospective jurors into the Qualified Jury Wheels for the Pittsburgh, Erie and Johnstown
Divisions.

       4. Upon filling the New Master Jury Wheels, the Clerk will officially replace the old
Master Jury Wheels.




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January 8, 2021               s/ Mark R. Hornak
